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                IN THE UNITED STATES DISTRICT COURT FOR
                        THE DISTRICT OF COLUMBIA
________________________________________

AFFINITY FINANCIAL CORPORATION and,                  §
WATERFIELD FINANCIAL SERVICES,                       §
     INC,                                            §
                                                     §
        Petitioners,                                 §
                                                     §
vs.                                                  §
                                                     §
AARP FINANCIAL INC.,                                 §      Case No. 10-2055
                                                     §      Hon. Ricardo M. Urbina
        Respondent .                                 §      United States District Court Judge

      ORDER ON PETITIONERS’ MOTION FOR ATTORNEYS’ FEES AND COSTS

        WHEREIN came the Petitioners, Affinity Financial Corporation et al., and submitted

their Motion for Attorneys’ Fees and Costs (Doc. No. 17) pursuant to this Court’s Order of July

1, 2011 (Doc. No. 14), together with accompanying incorporated exhibits;

        UPON consideration thereof, and of any further respective pleadings of the Petitioners

and Respondent, AARP Financial, Inc., the Court finds that Petitioners’ submitted attorneys’ fees

and costs are reasonable and well-supported in all regards in accordance with the principles of

this Court; and accordingly,

        IT IS HEREBY ORDERED, ADJUDICATED and DECREED that the Petitioners are

granted, against Respondent, an award of their attorneys’ fees and costs as follows:

 Item                          Description                                    Amount
  No.
   1                         Attorneys’ Fees                                 $22,095.38
   2                          Paralegal Fees                                   $83.00
   3                         Litigation Costs                                 $1,031.44
   4               Post-Motion Accrual of Fees & Costs
                                  Total                            $

        So Ordered.

                                                            RICARDO M. URBINA
                                                            United States District Judge
